                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF ALABAMA

IN RE:                                       )       CHAPTER 13
  ALLEN FORD LEWIS                           )
                                             )       CASE NO. 16-02905-JCO-11
        Debtor(s).                           )

                     NOTICE OF TERMINATION OF AUTOMATIC STAY

       Now Comes, SHEFFIELD FINANCIAL , a creditor herein, by its attorneys, Chambless Math

 Carr, P.C., pursuant to the Conditional Order Terminating Stay previously entered by this Court

and hereby gives notice that the automatic stay provided by 11 U.S.C. § 362(a) has terminated as to

the 2013 POLARIS RANGER pursuant to terms of that order.

                                                     SHEFFIELD FINANCIAL



                                                     By: /s/ Leonard N. Math
                                                     Attorney for the Creditor

Of Counsel:
Chambless Math  Carr, P.C.
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                                       CERTIFICATE OF SERVICE

    The undersigned certifies that the foregoing instrument was served on all attorneys of record as

set forth below on January 11, 2018.

x       by electronic service


Bankruptcy Administrator (MOBILE)
Chapter 7 Trustee
P.O. Box 3083
Mobile AL 36652-3083

Irvin Grodsky
Attorney At Law
P.O. Box 3123
Mobile AL 36652
igpc@irvingrodskypc.com

x       depositing a copy thereof in the United States mail postage prepaid:


ALLEN FORD LEWIS
4880 WAYNE ROAD
SWEET WATER AL 36782

                                                                 /s/ Leonard N. Math
                                                                Chambless Math  Carr, P.C.




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